      Case 1:24-cv-00617-TJK          Document 18-9        Filed 09/02/24         Page 1 of 3

                                                                  Office of Information Governance and Privacy

                                                                  U.S. Department of Homeland Security
                                                                  500 12th St., NW
                                                                  Washington, D.C. 20536




                                                        03/14/2024

Michelle Doherty
Brooklyn Defender Services
156 Pierrepont Street
Brooklyn, New York 11201

RE:    ICE FOIA Case Number 2024-ICFO-01546

Dear Requester:

This letter is the final response to your Freedom of Information Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), dated 10/12/2023. You have requested records
related to disclosures under 5 USC 552a(b)(7) to third parties of Mr. Baldev Singh, regarding
immigration related applications and proceedings. ICE has considered your request under the
FOIA, 5 U.S.C. § 552.

A search of the ICE office(s) of Enforcement and Removal Operations (ERO), Office of the
Chief Information Officer (OCIO), Office of Professional Responsibility (OPR), and Office of
the Principal Legal Advisor (OPLA), produced records responsive to your request. Documents
were reviewed under the FOIA, U.S.C. 552.

1,613 pages were reviewed, and 294 pages are being released pursuant to Exemptions 5,6,7C,
and 7E of the FOIA as described below; duplicate copies of the same document were not
processed. FOIA Exemption 5 protects from disclosure those inter- or intra-agency documents
that are normally privileged in the civil discovery context. The three most frequently invoked
privileges are the deliberative process privilege, the attorney work-product privilege, and the
attorney-client privilege. After carefully reviewing the responsive documents, I have determined
that portions of the responsive documents qualify for protection under the deliberative process
privilege, the attorney-client privilege, and the attorney work-product privilege. The deliberative
process privilege protects the integrity of the deliberative or decision-making processes within
the agency by exempting from mandatory disclosure opinions, conclusions, and
recommendations included within inter-agency or intra-agency memoranda or letters. The
release of this internal information would discourage the expression of candid opinions and
inhibit the free and frank exchange of information among agency personnel. The attorney work-
product privilege protects documents and other memoranda prepared by an attorney in
contemplation of litigation. The attorney-client privilege protects confidential communications
between an attorney and his client relating to a legal matter for which the client has sought

                                                                                             www.ice.gov
       Case 1:24-cv-00617-TJK          Document 18-9        Filed 09/02/24      Page 2 of 3




professional advice. It applies to facts divulged by a client to his attorney, and encompasses any
opinions given by an attorney to his client based upon, and thus reflecting, those facts, as well as
communications between attorneys that reflect client-supplied information. The attorney-client
privilege is not limited to the context of litigation.

FOIA Exemption 6 exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right to privacy. The privacy
interests of the individuals in the records you have requested outweigh any minimal public
interest in disclosure of the information. Any private interest you may have in that information
does not factor into the aforementioned balancing test.

FOIA Exemption 7(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate. As such, I have
determined that the privacy interest in the identities of individuals in the records you have
requested clearly outweigh any minimal public interest in disclosure of the information. Please
note that any private interest you may have in that information does not factor into this
determination.

FOIA Exemption 7(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law. I have
determined that disclosure of certain law enforcement sensitive information contained within the
responsive records could reasonably be expected to risk circumvention of the law. Additionally,
the techniques and procedures at issue are not well known to the public.

Your request for expedited processing has been approved.

This material is being provided to you at no charge.

You have a right to appeal the above withholding determination. Should you wish to do so, you
must send your appeal and a copy of this letter, within 90 days of the date of this letter following
the procedures outlined in the DHS FOIA regulations at 6 C.F.R. Part 5 § 5.8. You may submit
your appeal electronically at GILDFOIAAppeals@ice.dhs.gov or via regular mail to:
      Case 1:24-cv-00617-TJK          Document 18-9       Filed 09/02/24      Page 3 of 3




               U.S. Immigration and Customs Enforcement
               Office of the Principal Legal Advisor
               U.S. Department of Homeland Security
               500 12th Street, S.W., Mail Stop 5900
               Washington, D.C. 20536-5900

Your envelope and letter should be marked “FOIA Appeal.” Copies of the FOIA and DHS
regulations are available at www.dhs.gov/foia.

Provisions of FOIA allow DHS to charge for processing fees, up to $25, unless you seek a
waiver of fees. In this instance, because the cost is below the $25 minimum, there is no charge.

If you have any questions please contact FOIA Public Liaison Daniel Edgington at (866) 633-
1182 or 500 12th St., SW Stop 5009 Washington, DC 20536-5009. Additionally, you have a
right to right to seek dispute resolution services from the Office of Government Information
Services (OGIS) which mediates disputes between FOIA requesters and Federal agencies as a
non-exclusive alternative to litigation. If you are requesting access to your own records (which
is considered a Privacy Act request), you should know that OGIS does not have the authority to
handle requests made under the Privacy Act of 1974. You may contact OGIS as follows: Office
of Government Information Services, National Archives and Records Administration, 8601
Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone
at 202-741-5770; toll free at 1-877-684-6448.


Sincerely,



Aaron Murray
Supervisory Paralegal Specialist

Enclosure(s): 294 pages
